          Case 1:21-cv-03354-BAH Document 38 Filed 03/20/23 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                        Plaintiffs,                  Civil Action No. 21-3354 (BAH)

                        v.                           Chief Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                        Defendants.




       RESPONSE TO PLAINTIFFS’ SUBMISSION RE MINUTE ORDER DATED
                             MARCH 20, 2023

       In their Amended Complaint [Doc. 22] (“Complaint”), Plaintiffs Ruby Freeman

(“Freeman”) and Wandrea Moss (“Moss” and, together with Freemen, the “Plaintiffs”) have sued

Defendant Rudolph Giuliani (“Giuliani”) for defamation per se, intentional infliction of emotional

distress, and civil conspiracy arising from statements attributed to Giuliani related to the contested

2020 Presidential Election (“Election”) in the State of Georgia. In this case, however, Plaintiffs

are seeking discovery on a myriad of issues unrelated to Plaintiffs, but rather related to January 6th

and the broader election litigation. Giuliani has, nevertheless, produced many of these documents,

answered many interrogatories and requests for admission, and scarcely objected based on

relevance to avoid discovery disputes.

       A. The Interrogatories/RFAs/Second Deposition/Disclosures.

       Giuliani sat for his deposition on March 1, 2023. Prior to the deposition, upon request from

Plaintiffs’ counsel, Giuliani’s counsel provided the names of persons he spoke with to supplement

any outstanding disclosure obligations. Ex. A. Giuliani will formally supplement his disclosures.
          Case 1:21-cv-03354-BAH Document 38 Filed 03/20/23 Page 2 of 4




At the deposition, he informed Plaintiffs’ counsel that he agreed with the accuracy of the

Interrogatory Answers and was prepared to verify. After the deposition, however, on March 3,

2023, Plaintiffs’ counsel sent a “post-deposition” discovery email requesting various things,

including amendments/supplementations to interrogatories to match the deposition given on those

topics as well as verifications for previously served interrogatories. This placed Giuliani in a

conundrum because he had not yet received the transcript (the deposition went full time and had

multiple voluminous exhibits). Therefore, he was unable to review the transcript to supplement

and/or amend any interrogatory answers in accordance with the deposition transcript because he

had not received it. As such, he was not in position to verify interrogatories that Plaintiffs

contended were inaccurate based on the deposition testimony that he had not had a chance to

review. Giuliani will do so upon receiving his deposition transcript for review.

       Then, on March 15, 2023, Plaintiffs’ counsel gave notice of their intent to seek Court

intervention. Giuliani’s counsel informed them that he was out of town that week but would try

and resolve some issues by March 20, 2023. They responded that time was of the essence and

they could not wait. On Friday, in association with privilege issues that Plaintiffs’ counsel

contended were resolved by Giuliani’s depo transcript, Giuliani’s counsel asked for a copy of the

depo transcript (still not received from the court reporter to this day). Plaintiffs’ counsel agreed to

provide it on condition it was attorneys’ eyes only. Therefore, Giuliani is still not capable of

reviewing the transcript to make any corrections/modifications to his interrogatory answers and or

RFA responses, if any.

       Finally, Plaintiffs used all of their deposition time in the March 1st deposition. Therefore,

any second deposition should be limited to any newly produced documents or information that

would warrant more than the normal time for a deposition. Plaintiffs have yet to make that

                                                  2
         Case 1:21-cv-03354-BAH Document 38 Filed 03/20/23 Page 3 of 4




showing. Further, the two depositions that Giuliani rescheduled were agreed-upon dates and not

formally noticed with a notice of deposition. Therefore, there was no instrument compelling him

to attend. No sanction therefore can lie for his rescheduling those depositions.

       B. The Document Productions/Confirmation Of Searching Electronic Devices.

       As Plaintiffs concede, Giuliani has produced many documents including, but not limited

to, documents culled from Plaintiffs’ own search terms. However, Plaintiffs complain that

Giuliani has not confirmed that he has searched all electronic devices in his possession as well as

social media accounts. Giuliani testified in deposition that he believed he did search such devices

for information. However, Giuliani agrees that he will certify to the Court and Plaintiffs that he

has searched his devices and what devices he has searched.

       C.      Conclusion

       For all of the reasons discussed herein, and for other reasons that Giuliani will explain to

the Court at the hearing or in separate submission, the Court should give Giuliani fourteen days to

address the discovery deficiencies alleged by Plaintiffs after having had a chance to review and

make any corrections to his deposition transcript.



Date: March 20, 2023
                                             Respectfully submitted,

                                             By: /s/ Joseph D. Sibley IV

                                                     CAMARA & SIBLEY L.L.P.

                                                       Joseph D. Sibley IV
                                                       DC Bar ID: TX0202
                                                       1108 Lavaca St.
                                                       Suite 110263
                                                       Austin, TX 78701

                                                 3
         Case 1:21-cv-03354-BAH Document 38 Filed 03/20/23 Page 4 of 4




                                                       Telephone: (713) 966-6789
                                                       Fax: (713) 583-1131
                                                       Email: sibley@camarasibley.com

                                             ATTORNEYS FOR RUDOLPH GIULIANI




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of March, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which I understand to have caused service
on all counsel of record.


                                             /s/ Joseph D. Sibley IV
                                             Joseph D. Sibley IV




                                                4
